                         Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 1 of 9
                                      PHILADELPHIA MUNICIPAL COURT
                                                FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                  1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                                            Patrick F. Dugan, President Judge John J. Joyce, Deputy Court Administrator

                                                AFFIDAVIT OF SERVICE BY MAIL
Notice of Intent to Defend: Yes - DANIEL A. BERGER                                  # SC-21-05-27-4085
                                                                              SECTION 1
I, ___________________________________________, do hereby affirm that I sent a certified mail (return receipt
                               (Your Name)
                                  NEWREZ LLC, AKA/DBA: D/B/A Shellpoint Mortgage Servicing       2483203
requested) letter addressed to _____________________________________________________________________________ at
                                                                                (Defendant’s Name)
the following address (Address you mailed letter to):
      NEWREZ LLC, AKA/DBA: D/B/A Shellpoint Mortgage Servicing
      75 Beettie Place Suite 300
      Greenville, SC 29601


on ______________________ and a copy of the return receipt is attached to this affidavit.
(Date you mailed the letter)                                                       _______________________________________
                                                                                    (Your Signature)

                                                                              SECTION 2
I, _____________________________________, do affirm that I sent a certified letter (return receipt requested)
   (Your Name)
to the defendant and the receipt was returned marked either “UNCLAIMED” or “REFUSED”. I then sent a regular
mail* letter to ______________________________________ at the same address where the original certified mail
                                 (Same name as on the return receipt)
letter was mailed, which is ______________________________________________________________________.
                                                                                 (Same address as is on original letter)
I do affirm that the letter was never returned to me as of this date, _______________________________, and I did
                                                                                                            (Fill in this date at the hearing)
have my return address on the regular mail letter.                       _______________________________________________
                                                                                                              (Your Signature)
I do affirm that I was unable to make service on the defendant in this action.
_______________________________________________
                              (Your Signature)
*(Certificate of Mailing – Form #3817)

                                                                              SECTION 3
Your Name: ________________________________________________________________________________________________
Your Address: ______________________________________________________________________________________________
              ______________________________________________________________________________________________
Your Signature: _____________________________________________________________ Date Signed: __________________
I am an attorney for the plaintiff(s), the plaintiff's authorized representative or have a power of attorney for the plaintiff(s) in this statement of claims action. I hereby
verify that I am authorized to make this verification; that I have sufficient knowledge, information and belief to take this verification or have gained sufficient
knowledge, information and belief from communications with the plaintiff or the persons listed below and that the facts set forth are true and correct to the best of my
knowledge, information and belief. I understand that this verification is made subject to the penalties set forth in 18 Pa. C.S. &sect; 4904, which concerns the making of
unsworn falsifications to authorities. If I am an authorized representative or have a power of attorney, I have attached a completed Philadelphia Municipal Court
authorized representative form or a completed power of attorney form.



NOTE: EITHER FILL OUT SECTIONS 1 AND 3, OR SECTIONS 2 AND 3.
                                                                                                                                                                  75-08/23/01
                            Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 2 of 9
                                                  PHILADELPHIA MUNICIPAL COURT
                                             FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                                                           1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                                                 Patrick F. Dugan, President Judge John J. Joyce, Deputy Court Administrator

                                                                     STATEMENT OF CLAIM
   Code: Other - (13)                                                                         # SC-21-05-27-4085
   Daniel A Berger                                                                     NEWREZ LLC
   1014 Spruce Street Apt 72                                                           AKA/DBA: D/B/A Shellpoint Mortgage Servicing
   Philadelphia, PA 19103                                                              75 Beettie Place Suite 300
                                                                                       Greenville, SC 29601




                                                                        Plaintiff(s)                                                                              Defendant(s)
   Service Address (information) if other than above:

   To the Defendant: Plaintiff is seeking a money judgment against the Defendant(s) based on the following claim:
   The within claims are for violations of 73 P.S. §201-1 et seq., 73 P.S. §2270.1 et seq,, 15 U.S.C.
   § 1692 et seq., and 15 U.S.C. § 1681 et seq., stemming from a mortgage promissory note and the
   Defendant, loan servicers, numerous and repeated statutory violations as explained in more detail
   below.

   Additionally, Plaintiff is seeking damages stemming from common law causes action in trespass for
   Defendant's knowingly defamatory statements to third parties and for special damages.

   Plaintiff is a natural person at all times relevant hereto residing in Philadelphia Pennsylvania.
   In October of 2015 Plaintiff purchased his home as a primary residence and executing a promissory
   note and affording a mortgage company a security interest in order to purchase his home.

   A true and correct copy of the mortgage promissory note has been attached hereto as Exhibit A,
   which contains the rights and obligations of the Plaintiff and Defendant, to the (continued...)


   Summons to the Defendant                                                                      Amount Claimed
   You are hereby ordered to appear at a hearing                                                 Principal                         $               12000.00
   scheduled as follows:                                                                         Interest                          $                   0.00
   Citation al Demandado                                                                         Attorney Fees                     $                   0.00
   Por la presenta, Usted esta dirljido a presentarse a la                                       Other Fees                        $_______________________
                                                                                                                                                       0.00
   siguiente:                                                                                             Subtotal                 $_______________________
                                                                                                                                                   12000.00
                                                                                                 Service                           $                   0.00
                                                                                                 State Fee                         $                  14.75
   1339 Chestnut Street 6th Floor                                                                Automation Fee                    $                   5.50
   Philadelphia, PA 19107
   Hearing Room: 6                                                                               Convenience Fee                   $                   5.00
                                                                                                 JCS St. Add. Surcharge            $                  11.25
                                                                                                 JCS St. Add. Fee                  $                   2.25

   July 12th, 2021
                                                                                                 ATJ Fee                           $                   2.00
                                                                                                 ATJ Surcharge                     $                  10.00
                                                                                                 Court Costs                       $_______________________
                                                                                                                                                      44.00
                                                                                                 TOTAL CLAIMED                     $_______________________
                                                                                                                                                   12094.75
   11:15 AM
                                                                                                 Date Filed: _________
                                                                                                             05/27/2021



I am an attorney for the plaintiff(s), the plaintiff's authorized representative or have a power of attorney for the plaintiff(s) in this statement of claims action. I hereby
verify that I am authorized to make this verification; that I have sufficient knowledge, information and belief to take this verification or have gained sufficient knowledge,
information and belief from communications with the plaintiff or the persons listed below and that the facts set forth are true and correct to the best of my knowledge,
information and belief. I understand that this verification is made subject to the penalties set forth in 18 Pa. C.S. &sect; 4904, which concerns the making of unsworn
falsifications to authorities. If I am an authorized representative or have a power of attorney, I have attached a completed Philadelphia Municipal Court authorized
representative form or a completed power of attorney form.



                      DANIEL A. BERGER
   ______________________________                                         Address & 1760 Market Street, Suite 608
                                                                          Phone     Philadelphia, PA 19103
   Signature Plaintiff/Attorney
              319631
   Atty ID #: _____________                                                         215-564-2031

     NOTICE TO THE DEFENDANT, YOU HAVE BEEN SUED IN COURT.                                        AVISO AL DEMANDADO LE HAN DEMANDADO EN CORTE. VEA POR FAVOR
     PLEASE SEE ATTACHED NOTICES                                                                  LOS AVISOS ASOCIADOS.

                           If you wish to resolve this matter without appearing in court, please contact the attorney shown above immediately.
                  Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 3 of 9
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                               ),567-8',&,$/',675,&72)3(116</9$1,$
                                      1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                              Patrick F. Dugan, President Judge              John J. Joyce, Deputy Court Administrator

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                                                                                # SC-21-05-27-4085
 
Daniel A  Berger 1DPH                                                 1DPH
                                                                         NEWREZ LLC
                $GGUHVV
1014 Spruce Street Apt 72
Philadelphia, PA 19103
                                                                         $GGUHVV
                                                                         AKA/DBA: D/B/A Shellpoint Mortgage Servicing
                                                                         75 Beettie Place Suite 300
              &LW\6WDWH=,3                                         &LW\6WDWH=,3
                                                                         Greenville,   SC 29601
                                                              
                                                                        
              Plaintiff                                                                               
                                                                                                                         Defendant

                                                         Plaintiff                                                                   Defendant(s)


                                                                         

                               '(6&5,37,21251$785(2)9,2/$7,21
extent that Defendant acts as an agent for the holder of the promissory note and mortgage
security interest.
    
  
Between
  
         October 2015 and January of 2019 Plaintiff performed all of his obligations under
the
    agreement and the parties proceeded as normal, however, complications arose in early
2019
     when Plaintiff's hazard insurance company began processing a claim for damage to
  
Plaintiff's  property as a result of roof leak that went unremedediated for nearly 18
  
months.  Specifically Plaintiff's property was part of a condominium subject to a separate
  
agreement  between Plaintiff and the Condo Association that Defendant was, or should have
  
been,  at all times aware of the terms and conditions thereof and the effect this had on
  
the
  
     obligations between Plaintiff and Mortagee.
    
Plaintiff
              was forced to move out due to a mold infestation and ultimately sued the Condo
    
Association      and the Association's Management company in the Court of Common Pleas and
    
after      almost 2 years of litigation, this matter was ultimately settled, the Association
ultimately assumed total financial responsibility for all repairs and maintenance
obligations as well as those insurance obligations in order to restore the premises to the
condition prior to the damage, and new Insurance policy was finally obtained and is
 
currently      in full force and effect.
 
 
COUNT             
           I ? Statutory Violations for Unfair and/or Unconscionable Collection practices based
on Unauthorized Collection of force placed insurance fees or premiums.
                              
 
Beginning in January of 2020 New Rez, LLC d/b/a Shellpoint Mortgage Servicing, assumed the
 
loan      servicing rights and obligations with respect to Plaintiff's residential mortgage for
  property located at 1014 Spruce Street, Apt 7-2, Philadelphia PA 19104.
his

At some point during the ongoing dispute and litigation between Plaintiff and the Condo
Association in order to ensure the property retained its value and that Mortgagee was
indemnified against loss or diminution in value, subsequent to taking over loan servicing
rights and obligations, Defendant began charging Plaintiff for additional Forced Placed
insurance despite Plaintiff's ongoing efforts to insure and indemnify Mortgagee from any
losses arising out of damage to Plaintiff's property by way of the ongoing litigation,
commensurate settlement negotiations, and the Condo Associations assumption of the
financial responsibility for all repairs based on contributions from three different
insurance companies.

Specifically, between September 1, 2020 and May 1, 2021, Defendant billed the Plaintiff
for this additional Forced Placed Hazard insurance totaling in the amount of $2,278.70.
 
See statement of account and supporting documentation attached hereto as Exhibit B.
Nothing in the promissory note, however, expressly calls for the collection of this
additional amount.

            
At the same time, Defendant was not authorized by law to charge Plaintiff for the same
pursuant to 10 Pa. Code § 59.9(b) because Defendant lacked "a reasonable (continued...)
                  Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 4 of 9
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                               ),567-8',&,$/',675,&72)3(116</9$1,$
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                                                                         NEWREZ LLC
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              &LW\6WDWH=,3                                         &LW\6WDWH=,3
                                                                         Greenville,   SC 29601
                                                              
                                                                        
              Plaintiff                                                                               
                                                                                                                         Defendant

                                                         Plaintiff                                                                   Defendant(s)


                                                                         

                               '(6&5,37,21251$785(2)9,2/$7,21
basis to believe that [Plaintiff] ha[d] failed to comply with" his contractual
obligations to maintain hazard insurance.
    
As was set forth above, Plaintiff maintained hazard insurance for as long as was actually
and  physically possible. Specifically, because Plaintiff lacked the ability to control the
habitability
              and condition of his property that was caused by defects to the Condo
   
Association's   property, Plaintiff's efforts to indemnify Mortgagee from any risk to its
   
security   interest by initiating litigation against the Condo Association and insuring
   
financial   coverage for any damage during the period of time, causing the property to be
   
restored   to its condition prior to the damage and obtain adequate insurance once he was
   
again
   
        able to obtain such coverage, Plaintiff was, at all times, in substantial compliance
with
      his contractual obligations.
    
  
Moreover,  Defendant was, or should have been, aware of the steps that Plaintiff was taking
to remain in compliance with his obligations as the ongoing litigation was a matter of
public record and mortgagee was put on notice of the same in 2018 when litigation was
first initiated.
  fact, even after Plaintiff provided Defendant with notice of the new Hazard Insurance
In
 
policy   in January, Defendant continued to bill Plaintiff and collect amounts for the
 
additional     
             forced placed insurance, and continues to bill Plaintiff for the same.
                           
Accordingly, Plaintiff has suffered an ascertainable loss of money or property in the
 
amount of $2,278.70 and is seeking actual and treble damages totaling $6,836.10 plus costs
  suit and reasonable attorney fees, plus such additional amounts on account of
of
 
Defendant's                                   of such fees for the duplicate hazard
              continued billing and collection
insurance.

In the alternative, Plaintiff seeks the maximum relief allowable, if such available relief
under federal law pursuant to 15 U.S.C. § 1692 et seq. to the extent that Defendant is a
debt collector as defined by the statute who has committed violations of the act through
the above described conduct, would be greater than what Plaintiff would be entitled to
recover under state law.

COUNT II ? Statutory Violations for Unfair and/or Unconscionable Collection practices
based on Unauthorized collection and/or assessment of late fees as a result of deceptive
collection practices following termination of the COVID-19 Forbearance period.

Also in late March of 2020 as a result of some business uncertainty at his employer due to
 
the Covid-19 pandemic, Plaintiff sought and properly applied for three months of
forbearance from Defendant in accordance with the applicable provisions of the CARES Act.
 
Thereafter,
        
            Plaintiff was able to forbear payments for April, May, and June of 2020.
Additionally, as a specific inducement to entering into the forbearance (continued...)
                  Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 5 of 9
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                                                                         NEWREZ LLC
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                                                                         $GGUHVV
                                                                         AKA/DBA: D/B/A Shellpoint Mortgage Servicing
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                                                                         Greenville,   SC 29601
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                                                                        
              Plaintiff                                                                               
                                                                                                                         Defendant

                                                         Plaintiff                                                                   Defendant(s)


                                                                         

                                '(6&5,37,21251$785(2)9,2/$7,21
arrangement, Plaintiff was specifically informed by Defendant's representatives that at
the end of the forbearance period, Plaintiff could either reapply for additional
  
forbearance  if necessary under applicable provisions of the CARES Act, or he could enter
  
into
  
     a subsequent  modification agreement that would allow him to defer the forborne
payments
         to the end of the loan after the maturity date.
Beginning
          in June of 2020, Plaintiff contacted the Defendant in an effort to enter into
  
such deferment arrangement and resume payments of his mortgage obligations. Despite
  
diligent  efforts of the Plaintiff, Defendant's website contained numerous misleading
  
statements  and a faulty system that frustrated his ability to enter into an appropriate
  
deferment  arrangement.
  
  
As was documented by Plaintiff's communication on June 30, 2020, which was sent to
Defendant's
            representatives, the Defendant's website represented that Plaintiff could
  
easily  defer his missed payments to the end of his loan and resume making payments,
  
however,  upon clicking the various links, Defendant's website required the Plaintiff input
his income and expenses information ? which was only applicable in the event that he
wished to continue forbearance ? would not process a deferment application in a timely
fashion.
 
 
Furthermore,      when attempting to resume payments, Defendant's website had an improper late
 
fee              
        of $25, that  was not then due, and as a result, Plaintiff had to reduce his payment by
$25 so that he would only be charged his full monthly payment amount of $1,550.03.
                              
 
Rather than make the correct withdrawal, however, Defendant erroneously debited
 
Plaintiff's     bank account for only $1,525.03, forcing him to send a separate check in the
  for the difference, and then subsequently
mail                                             charging the $25 late fee. This late fee,
in fact, was assessed by later reducing a principal payment by the same $25.00 and then
incorporating that additional $25.00 in principal into the deferment agreement that
Plaintiff was induced to agree to ? having no option or ability to refuse to agree to
defer the additional $25.00 in principal that should have been correctly credited against
his principal loan balance but was instead collected by defendant as an unauthorized late
fee.

This correspondence and supporting documentation has been attached hereto as Exhibit C.

Additionally, as seen in the attached Deferment agreement which has been attached hereto
as Exhibit D, that Plaintiff was fraudulently induced to sign, because the Defendant
refused to, or was otherwise unable to timely process his deferment application, Plaintiff
had to defer an additional fourth month of interest and principal, and the deferment
 
agreement further required Plaintiff to defer the addition $25.00 in principal.

Further, on information and belief, Plaintiff further maintains that Defendant
 
intentionally
        
               and knowingly delayed and created numerous hurdles to frustrate
(continued...)
                  Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 6 of 9
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                                                                         Greenville,   SC 29601
                                                              
                                                                        
              Plaintiff                                                                               
                                                                                                                         Defendant

                                                         Plaintiff                                                                   Defendant(s)


                                                                         

                               '(6&5,37,21251$785(2)9,2/$7,21
Plaintiff's ability to defer the forborne payments and resume his usual payments
specifically so that Defendant could charge and collect late fees and other ballooning
  
costs ancillary to the principal obligation.
  
  
As a direct and proximate result of Defendant's deceptive conduct and misleading website
platform,
          Plaintiff suffered an ascertainable loss of at least $25 in improperly collected
  
late  fees and/or the addition of $25 to the deferred principal in the deferment agreement.
  
  
Additionally,  Plaintiff suffered additional actual damages in the form of out of pocket
  
expense,  mental and emotional stress and suffering and significant disruption of business
  
and
  
     loss of time as a result of having to send lengthy and in depth written communications
documenting
            the Defendant's deceptive conduct, including the non-responsive and fraudulent
letters
        sent to pervert the record if reviewed at a later time.
  
  
Accordingly,  Plaintiff demands actual and statutory damages in an amount to be determined
at trial, but within the jurisdictional limits of the small claims court, plus costs of
suit and reasonable attorney fees.
 
Specifically,     Plaintiff seeks the maximum relief available whether applicable state or
 
federal    law would provide for the maximum relief available, but not duplicative amounts.
              
Count III - Statutory Violations for Furnishing False Credit Information and/or Common Law
                             
Defamation and Request for Special Damages
 
  December of 2020, Plaintiff obtained tenants for his condo once the litigation with his
In
 
Condo                                          
         Association Resolved, repairs were fully  completed and after obtaining a new
Landlord's Hazard Insurance Policy. At that point in time, Plaintiff was living in a
rented apartment with his fiancé and domestic partner and they thereafter decided to
purchase a new home together and apply, jointly, for a mortgage.

During the mortgage application process and after Plaintiff and his fiancé found a home
and entered into an agreement for sale, specifically during the mortgage closing process,
Defendant misreported certain information about Plaintiff's payment history on his
mortgage loan.

Specifically, on or about January 11, 2021, Defendant published knowingly false
information specifically representing that Plaintiff was in deferment with respect to his
mortgage obligations. The specific character of these knowingly false statements that were
made by the Defendant to third parties, including certain credit reporting agencies, was
 
the representation that as of that particular instance in time, Plaintiff was not
currently making his monthly mortgage payments, which was materially false at the time
when made and was knowingly false when made because Plaintiff had actually (continued...)

            
                  Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 7 of 9
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                                                                         NEWREZ LLC
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                                                                         Greenville,   SC 29601
                                                              
                                                                        
              Plaintiff                                                                               
                                                                                                                         Defendant

                                                         Plaintiff                                                                   Defendant(s)


                                                                         

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paid Defendant, as the loan servicer, directly, his regularly monthly payments in
September, October, November, December, and January.
    
  
Furthermore,
  
              it was reasonably foreseeable that when simply representing that Plaintiff's
mortgage
         loan was "in deferment" would be understood by third parties to mean that
Plaintiff
          was not, and had not recently been making is regular monthly payments.
    
  
Furthermore,  as a direct and proximate result of Defendant's false statements to third
  
parties  and specifically concerning Plaintiff's credit worthiness, Plaintiff was forced to
  
incur  significant time costs in order to gather all of the applicable and relevant
  
documentation
  
               to prove the false character of those representations to the third parties
that
     were in the process of closing the joint mortgage application of the Plaintiff and
his
    fiancé.
    
  
Attached hereto as Exhibit E are true and correct copies of the relevant supporting
documentation on relation to the false and defamatory statements made by the Defendant to
third parties.
 
Plaintiff    demands damages in an amount to be determined at trial for the injuries suffered
  a result of Defendant's conduct. Further, Plaintiff specifically demands the maximum
as
 
amount          
          allowable under the law, whether applicable federal law, based on violations of the
applicable statute regarding furnishing false information about consumer's credit
                            
worthiness to third parties, or whether applicable state law claims for defamation would
 
provide for greater relief.
 
 
Count    IV ? Special Damages                 
Plaintiff specifically demands remuneration for his lost time as an attorney. In support
of this claim, Plaintiff alleges that Defendant was on actual or constructive notice of
the nature of the Plaintiff's profession as an attorney and that such interference with
the Plaintiff's business, unreasonably caused by Defendant's wrongful conduct would likely
result in special damages by way of lost time as an attorney.

Specifically, Defendant, or its predecessor in interest, was advised on numerous occasions
of the nature of Plaintiff's profession, initially during the mortgage application process
in October of 2015 when he was required to submit financial statements, W2's and other
information about his personal finances, employment status and occupation.

Again, Defendant was also again notified of the nature of Plaintiff's profession in 2020
during the initial forbearance process and as a result Defendant knew or should have known
 
that  injuries flowing directly from its unreasonable interference with Plaintiff's time
was a foreseeable of consequence of Defendant's misconduct.
  (continued...)

            
                  Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 8 of 9
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                                      1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                              Patrick F. Dugan, President Judge              John J. Joyce, Deputy Court Administrator

                                 60$//&/$,06&203/$,17
                                                                                # SC-21-05-27-4085
 
Daniel A  Berger 1DPH                                                 1DPH
                                                                         NEWREZ LLC
                $GGUHVV
1014 Spruce Street Apt 72
Philadelphia, PA 19103
                                                                         $GGUHVV
                                                                         AKA/DBA: D/B/A Shellpoint Mortgage Servicing
                                                                         75 Beettie Place Suite 300
              &LW\6WDWH=,3                                         &LW\6WDWH=,3
                                                                         Greenville,   SC 29601
                                                              
                                                                        
              Plaintiff                                                                               
                                                                                                                         Defendant

                                                         Plaintiff                                                                   Defendant(s)


                                                                         

                                           '(6&5,37,21251$785(2)9,2/$7,21


  
Accordingly, Plaintiff respectfully requests an award for the maximum amount available
  
within
  
       the jurisdictional limits of small claims court.
    
Specifically
                 to the extent that Plaintiff has suffered ascertainable losses of money and
    
property,     actual damages in the form of economic injuries, emotional and mental strain,
    
interference      with his business, and given the availability of punitive damages for
    
defendant's     intentionally wrongful conduct or conduct that was clearly reckless and
    
without     regard for the Plaintiff's rights and interests, together with the significant
    
disparity
    
              with respect to wealth of the parties, combined with the availability of an
award
         for reasonable attorney fees, which courts have allowed self-represented attorneys
to recover reasonable counsel fee, Plaintiff requests a total award for the maximum
    
jurisdictional      limit of the small claims court. (See, Ellis v. Cassidy, 625 F.2d 227 (9th
Cir.    1980) (affirming attorney fees to successful pro se attorney defendants in a 1983
case); Cuneo v. Rumsfeld, 553 F.2d 1360 (D.C. Cir. 1977), Jones v. United States Secret
Service, 81 F.R.D. 700 (D.D.C. 1979), Marschner v. Department of State, 470 F. Supp. 196
(D. Conn. 1979), and Holly v. Acree, 72 F.R.D. 115 (D.D.C. 1976), aff'd by order sub nom.
 
Holly     v. Chasen, 569 F.2d 160 (D.C. Cir. 1977) (all cases granting attorneys' fees to both
 
attorneys     and laypersons who have represented themselves in Freedom of Information Act
 
(FIOA)            Rynkiewicz v. Jeanes Hosp., No. 86-5209, 1987 WL 7842 (E.D. Pa. Mar. 11,
           suits);
1987) (awarding attorney fees to a pro se litigant based on Fed. R. Civ. P. 11); Chemiakin
                              
v. Yefimov, 932 F.2d 124 (2d Cir. 1991)(awarding attorney fees to a pro se litigant based
 
on Fed. R. App. P. 38).
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          Case 2:22-cv-02508-GAM Document 7-1 Filed 07/05/22 Page 9 of 9

                      PHILADELPHIA MUNICIPAL COURT
                   FIRST JUDICIAL DISTRICT OF PENNSYLVANIA
                            1339 Chestnut Street, 10th Floor, Philadelphia, PA 19107
                   Patrick F. Dugan, President Judge      John J. Joyce, Deputy Court Administrator



                                                           # SC-21-05-27-4085
 Daniel A Berger                                           NEWREZ LLC
 1014 Spruce Street Apt 72                                 AKA/DBA: D/B/A Shellpoint Mortgage
 Philadelphia, PA 19103                                    Servicing
                                                           75 Beettie Place Suite 300
                                                           Greenville, SC 29601




                                               Plaintiff                                              Defendant(s)


                 IMPORTANT NOTICE TO ALL PARTIES
          THE MUNICIPAL COURT COMPLIES WITH THE AMERICANS WITH
          DISABILITIES ACT WHICH REQUIRES THAT ALL COURT
          SERVICES AND FACILITIES BE ACCESSIBLE TO PERSONS WITH
          DISABILITIES ON AN EQUAL BASIS TO THOSE WITHOUT
DISABILITIES. IF YOU HAVE A DISABILITY, AND REQUIRE REASONABLE
ACCOMMODATIONS TO FILE A CLAIM, PARTICIPATE IN A MUNICIPAL
COURT PROCEEDING, OR USE ANY SERVICE PROVIDED BY THE COURT,
PLEASE CALL 215-686-7986. REQUESTS FOR REASONABLE ACCOMMODATIONS
MUST BE MADE AT LEAST (3) THREE BUSINESS DAYS BEFORE ANY HEARING,
OR WITHIN (3) THREE BUSINESS DAYS AFTER SERVICE (DELIVERY) OF THE
NOTICE OF THE HEARING, WHICHEVER IS LATER.


             NOTA IMPORTANTE PARA TODO PERSONAS
         LA CORTE MUNICIPAL CUMPLE CON EL DECRETO DE
         AMERICANO INCAPACITADOS (AMERICANS WITH DISABILITIES
         ACT). ESTE DECRETO REQUIRE QUE TODOS LOS SERVICIOS Y
         FACILIDADES DE CORTE SEAN ACCESIBLE. A PERSONAS
INCAPACITADAS, AL IGUAL QUE PERSONAS NO INCAPACITADAS. SE USTED
ESTE INCAPACITADO Y NECESITA ACOMODACIONES RAZONABLES, PARA
PODER RADICAR UNA DEMANDA, PARTICIPAR EN ALGUN PROCEDIMIENTO
O UTILIZAR SERVICIOS EN LA CORTE MUNICIPAL POR FAVOR LLAME AL
TELEFONE 215-686-7986. PARA SOLICITAR ACOMODACIONES RAZONABLES,
DEBE LAMAR POR LO MENOS TRES DIAS DE TRABJO ANTES DE SU
AUDIENCIA O DENTRO DE TRES DIAS DESPUES DE RECIBIR SU CITA, SEGUN
O QUE OCURRA PRIMERO.
                                                                                                           300-12/10/02
